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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    ) CASE NO. 2:24-cr-300-ECM
                                             )
EIMAJ ECHOLS                                 )

                                        ORDER

       On December 18, 2024, the Magistrate Judge entered a Report and

Recommendation Concerning Plea of Guilty (doc. 29), to which Notices of No Objection

have been filed (docs. 31, 32). Accordingly, it is

       ORDERED that the Magistrate Judge’s Recommendation (doc. 29) is ADOPTED,

the Court ACCEPTS the Defendant’s plea of guilty as to Count 1 of the Indictment, and

the Defendant is adjudged guilty of this offense. It is further

       ORDERED as follows:

     1. The sentencing of the Defendant is set on April 1, 2025 at 2:30 p.m. in
Courtroom 2A, the Frank M. Johnson, Jr. United States Courthouse, One Church Street,
Montgomery, Alabama.

       2. In accordance with Rule 32(f)(1), Federal Rules of Criminal Procedure, counsel
for the Defendant and the Government shall communicate in writing to the probation
officer, and to each other, any objections they have as to any material information,
sentencing classifications, sentencing guideline ranges, and policy statements contained in
or omitted from the presentence report. The probation officer will notify parties of the
objection deadline and will schedule a conference to discuss and resolve, if possible, any
factual and legal issues contained in the presentence report.

       3. Any motion for downward departure shall be filed on or before the conference
date with the probation officer, unless based on unknown and unforeseen circumstances
arising after that date, in which case the motion must be filed promptly upon discovery of
such circumstances.
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      4. Counsel for the Defendant and the Government are to notify the Court no later
than MARCH 18, 2025, if the hearing is anticipated to take more than one hour.

    5. Government and defense motions shall be filed NO LATER THAN NOON
ON MARCH 25, 2025.

        6. Sentencing Memoranda. Sentencing memoranda ARE REQUIRED and shall
be filed, with any attachments, NO LATER THAN NOON ON MARCH 25, 2025, with
copies served on opposing counsel and the probation officer assigned to the case.
Responses to sentencing memoranda are also required and shall be filed NO LATER
THAN NOON ON MARCH 27, 2025.

       7. Sentencing Exhibits. Any paper exhibit that a party may offer at the sentencing
hearing shall be filed electronically either as a Notice of Filing Sentencing Exhibits or as
an attachment to a sentencing memorandum (see paragraph 6 above). As to physical
evidence that may be offered at the sentencing hearing, the offering party shall attach a
photograph of the physical evidence to either the Notice of Filing Sentencing Exhibits or
to the sentencing memorandum. Finally, any storage media (e.g., CDs, DVDs) that may
be offered at the sentencing hearing shall be filed conventionally, along with an
electronically filed notice of conventional filing.
       All exhibits referenced in this paragraph — paper, physical evidence, and storage
media — shall be filed (in accordance with the procedures in the preceding paragraph) NO
LATER THAN NOON ON MARCH 25, 2025, with copies served on opposing counsel
and the probation officer assigned to the case.

       8. The parties shall comply with Rule 49.1 of the Federal Rules of Criminal
Procedure and refrain from including, or shall partially redact where inclusion is necessary,
personal data identifiers from all filings with the court, including exhibits, whether filed
electronically or in paper, unless otherwise ordered by the court. The responsibility for
redacting these personal identifiers rests solely with counsel and the parties.

       9. Introduction of Exhibits at Sentencing. Any of the above referenced exhibits that
a party moves to introduce at sentencing shall be offered at the hearing, even if a copy of
the exhibit previously was filed in accordance with paragraphs 6 and 7 of this Order.

       Nothing contained in this Order shall be construed as impairing the rights of any
party as established in the United States Constitution or laws of the United States.




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  Done this 19th day of December, 2024.

                                  /s/ Emily C. Marks
                            EMILY C. MARKS
                            CHIEF UNITED STATES DISTRICT JUDGE




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